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            EXHIBIT 3
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                12 Attorneys for Google LLC

                13
                                               UNITED STATES DISTRICT COURT
                14
                                              NORTHERN DISTRICT OF CALIFORNIA
                15

                16                                  SAN FRANCISCO DIVISION

                17

                18 SONOS, INC.,                                   Case No. 3:20-cv-06754-WHA
                                                                  Related to Case No. 3:21-cv-07559-WHA
                19                       Plaintiff and Counter-
                                         Defendant,               GOOGLE LLC’S RULE 26(a)(3)
                20                                                WITNESS LIST
                             vs.
                21

                22 GOOGLE LLC,

                23                       Defendant and Counter-
                                         Claimant.
                24

                25

                26

                27

                28

                                                                                     Case No. 3:20-cv-06754-WHA
01980-00181/13991270.1                                                             GOOGLE LLC’S WITNESS LIST
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                  1          Google LLC (“Google”) hereby provides its witness list pursuant to Federal Rule of Civil

                  2 Procedure 26(a)(3) and paragraphs 1 and 2(a) of the Guidelines for Trial and Final Pretrial

                  3 Conference in Civil Jury Cases Before the Honorable William Alsup.

                  4          Google identifies the name and, if not previously provided, the address, telephone number,

                  5 and anticipated testimony of each witness it may present at trial other than solely for impeachment
                  6 — separately identifying those Google expects to present and those it may call if the need arises.

                  7 The inclusion of a witness on Google’s list of potential witnesses does not represent that Google

                  8 will call (or otherwise require that Google calls) that witness to testify, does not constitute a
                  9 representation that Google will bring an identified potential witness to trial, and does not mean that

                10 Google has the power to compel the attendance or live testimony of that potential witness. Google’s

                11 listing of potential witnesses and designations of deposition testimony is also made based on

                12 Google’s present understanding of the trial date, the availability of potential witnesses, and the

                13 issues. In the event that an individual whom Google identified as a potential witness is not available

                14 for trial or otherwise cannot testify in person, Google may designate a replacement witness to testify

                15 either in person or by deposition, and will provide reasonable notice to Sonos, Inc. (“Sonos”).

                16           Google reserves the right to call any witness on any of Sonos’s witness lists. Google further

                17 reserves the right to supplement this list based on discovery not yet taken in the case. Google also

                18 reserves the right to call rebuttal witnesses who are not listed below to testify at trial either in person

                19 or by deposition in response to the testimony offered by Sonos and/or with respect to any defenses

                20 or issues on which Sonos bears the burden of proof. Google reserves the right to call additional
                21 witnesses to testify at trial either in person or by deposition to provide foundation testimony should

                22 any party contest the authenticity or admissibility of any material proffered at trial. After the parties

                23 exchange objections to such materials, Google will address this issue with Sonos and/or the Court,
                24 and will provide notice of any additional witnesses it will or may call to establish the authenticity

                25 and admissibility of materials to be proffered at trial.

                26           After the parties complete their pretrial exchanges and the Court rules on motions or other

                27 disputes that are presented during pretrial, Google reserves the right to further clarify the witnesses

                28

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                  1 it will call and whether the respective witnesses will provide their testimony in person or by

                  2 deposition.

                  3 I.          WITNESSES GOOGLE WILL PRESENT AT TRIAL

                  4      Name                        Contact Information            Substance of Testimony

                  5      Christopher Bakewell        May be reached through         Mr. Bakewell will provide
                                                     counsel for Google.            non-cumulative testimony
                  6                                                                 regarding damages for
                                                                                    infringement of U.S. Patent
                  7                                                                 Nos. 10,469,966 (“’966
                                                                                    patent”), 10,779,033 (“’033
                  8                                                                 patent”), and 10,848,885
                                                                                    (“’885 patent”) (collectively,
                  9                                                                 “Asserted Patents”).
                10       Kristen Bender              Last known address:            Ms. Bender will provide non-
                                                     Los Angeles, California        cumulative testimony
                11                                                                  regarding Google’s and
                                                                                    Sonos’s collaboration on the
                12                                                                  integration of Google’s music
                                                                                    services into Sonos’s products
                13                                                                  and the contract(s) governing
                                                                                    the same.
                14
                         Dr. Bobby Bhattacharjee     May be reached through         Dr. Bhattacharjee will provide
                15                                   counsel for Google.            non-cumulative testimony
                                                                                    regarding the non-
                16                                                                  infringement, invalidity, non-
                                                                                    infringing alternatives, usage
                17                                                                  and/or value of the ’033
                                                                                    patent.
                18
                         Arthur “Tad”                Last known address:            Mr. Coburn will provide non-
                19       Coburn                      Lexington, Massachusetts       cumulative testimony
                                                                                    regarding his purported
                20                                                                  invention and conception or
                                                                                    reduction to practice of the
                21                                                                  ’033 patent as well as
                                                                                    Google’s and Sonos’s
                22                                                                  collaboration on the
                                                                                    integration of Google’s music
                23                                                                  services into Sonos’s
                                                                                    products.
                24
                         Debajit Ghosh               May be reached through         Mr. Ghosh will provide non-
                25                                   counsel for Google.            cumulative testimony
                                                                                    concerning Google, the
                26                                                                  relationship between Google
                                                                                    and Sonos, the accused
                27                                                                  hardware and software
                                                                                    products, usage or non-usage
                28                                                                  of the accused functionalities,

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                  1      Name                     Contact Information      Substance of Testimony

                  2                                                        the design and development of
                                                                           the accused casting playback
                  3                                                        of queues functionality, and
                                                                           Google’s and Sonos’s
                  4                                                        collaboration on the same.
                  5      Andre Jardini            May be reached through   Mr. Jardini will provide non-
                                                  counsel for Google.      cumulative testimony
                  6                                                        concerning damages Google
                                                                           sustained in defending
                  7                                                        Sonos’s infringement claims
                                                                           for the ’033 patent and U.S.
                  8                                                        Patent No. 9,967,615.
                  9      Ken Mackay               May be reached through   Mr. Mackay will provide non-
                                                  counsel for Google.      cumulative testimony
                10                                                         regarding the origin of
                                                                           speaker grouping, the design
                11                                                         of Google’s speaker grouping,
                                                                           and the availability,
                12                                                         acceptability, and
                                                                           implementation of non-
                13                                                         infringing alternative designs.
                                                                           Google further identifies the
                14                                                         subjects of the Rule 30(b)(6)
                                                                           topic(s) for which Mr.
                15                                                         Mackay was designated as
                                                                           Google’s corporate witness.
                16
                         David Nicholson          May be reached through   Mr. Nicholson will provide
                17                                counsel for Google.      non-cumulative testimony
                                                                           concerning the design and
                18                                                         development of the accused
                                                                           casting playback of queues
                19                                                         functionality for YouTube and
                                                                           YouTube Music.
                20
                         Dr. Dan Schonfeld        May be reached through   Dr. Schonfeld will provide
                21                                counsel for Google.      non-cumulative testimony
                                                                           regarding the non-
                22                                                         infringement, invalidity, non-
                                                                           infringing alternatives, usage
                23                                                         and/or value of the ’966 and
                                                                           ’885 patents.
                24
                         Tom Varner               May be reached through   Mr. Varner will provide non-
                25                                counsel for Google.      cumulative testimony
                                                                           concerning damages for
                26                                                         Google’s breach of contract
                                                                           and conversion claims.
                27

                28 II.          WITNESSES GOOGLE MAY PRESENT AT TRIAL IF THE NEED ARISES

                                                               -4-               Case No. 3:20-cv-06754-WHA
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                  1          Name                             Contact Information      Substance of Testimony

                  2          Ramona Bobohalma1                May be reached through   Ms. Bobohalma may provide
                                                              counsel for Google.      non-cumulative testimony
                  3                                                                    concerning the accused
                                                                                       casting playback of queues
                  4                                                                    functionality for YouTube and
                                                                                       YouTube Music and the
                  5                                                                    design and development of
                                                                                       YouTube Remote.
                  6
                             Chris Chan                       May be reached through   Mr. Chan may provide non-
                  7                                           counsel for Google.      cumulative testimony
                                                                                       concerning the design,
                  8                                                                    development, and usage of the
                                                                                       accused functionalities as well
                  9                                                                    as the marketing of accused
                                                                                       media players. Google further
                10                                                                     identifies the subjects of the
                                                                                       Rule 30(b)(6) topic(s) for
                11                                                                     which Mr. Chan was
                                                                                       designated as Google’s
                12                                                                     corporate witness.
                13           John Evans                       May be reached through   Mr. Evans may provide non-
                                                              counsel for Google.      cumulative testimony
                14                                                                     concerning Google’s and
                                                                                       Sonos’s collaboration on the
                15                                                                     integration of Google’s music
                                                                                       services into Sonos’s
                16                                                                     products.
                17           Paul Joyce                       May be reached through   Mr. Joyce may provide non-
                                                              counsel for Google.      cumulative testimony
                18                                                                     concerning Google’s and
                                                                                       Sonos’s collaboration on the
                19                                                                     integration of Google’s music
                                                                                       services into Sonos’s
                20                                                                     products.
                21           Pawel Jurcyzk                    May be reached through   Mr. Jurcyzk may provide non-
                                                              counsel for Google.      cumulative testimony
                22                                                                     concerning alternatives to the
                                                                                       accused functionalities and
                23                                                                     products.
                24           Eugene Koh                       May be reached through   Mr. Koh may provide non-
                                                              counsel for Google.      cumulative testimony
                25                                                                     concerning the design and
                                                                                       development of
                26                                                                     Tungsten/Nexus Q.
                27

                28       1
                              If called, this witness may need to testify remotely.
                                                                              -5-            Case No. 3:20-cv-06754-WHA
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                  1          Name                     Contact Information            Substance of Testimony

                  2          Janos Levai              May be reached through         Mr. Levai may provide non-
                                                      counsel for Google.            cumulative testimony
                  3                                                                  concerning the design and
                                                                                     development of the accused
                  4                                                                  casting playback of queues
                                                                                     functionality for YouTube and
                  5                                                                  YouTube Music and the
                                                                                     design and development of
                  6                                                                  YouTube Remote.
                  7          Logitech Inc.            Last known address:            Logitech may provide non-
                                                                                     cumulative testimony
                  8                                   7700 Gateway Boulevard         concerning Logitech prior art
                                                      Newark, California 94560       related to the Asserted
                  9                                                                  Patents.
                10           Vincent Mo               May be reached through         Mr. Mo may provide non-
                                                      counsel for Google.            cumulative testimony
                11                                                                   concerning the design and
                                                                                     development of the accused
                12                                                                   casting playback of queues
                                                                                     functionality for YouTube and
                13                                                                   YouTube Music as well as
                                                                                     alternatives to accused
                14                                                                   functionalities and products.
                                                                                     Google further identifies the
                15                                                                   subjects of the Rule 30(b)(6)
                                                                                     topic(s) for which Mr. Mo
                16                                                                   was designated as Google’s
                                                                                     corporate witness.
                17
                             Tomer Shekel2            May be reached through         Mr. Shekel may provide non-
                18                                    counsel for Google.            cumulative testimony
                                                                                     concerning Google’s
                19                                                                   multizone technology and
                                                                                     disclosure to Sonos.
                20
                             Witness on YouTube       May be reached through         Google will present a witness
                21           “Autoplay” and “UpNext   counsel for Google.            who will provide non-
                             functionality”3                                         cumulative testimony
                22                                                                   concerning the design and
                                                                                     operation of the YouTube,
                23                                                                   YouTube Music, YouTube
                                                                                     Kids, and YouTube TV
                24                                                                   “AutoPlay” and “UpNext”
                                                                                     functionalities.
                25

                26

                27       2
                     If called, this witness may need to testify remotely.
                         3
                28    Google will identify this witness once Sonos takes a deposition on this topic pursuant to Dkt.
                   495.
                                                                    -6-                    Case No. 3:20-cv-06754-WHA
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                  1 III.     WITNESSES WHO MAY TESTIFY BY DEPOSITION

                  2          The following witnesses may testify by deposition:

                  3          Jeffrey Armstrong

                  4          Steve Beckhardt

                  5          Kristen Bender
                  6          Chris Butts

                  7          Tad Coburn

                  8          Keith Corbin
                  9          David DesRoches

                10           Allison Elliott

                11           Graham Farrar

                12           Adam Graham

                13           Joni Hoadley

                14           Jason Kendall

                15           Brandon Kennedy

                16           Alaina Kwasizur

                17           Robert Lambourne

                18           Nick Millington

                19           Juergen Schmerder

                20           Andrew Schulert
                21           Jeff Torgerson

                22           Christina Valente

                23
                24 DATED: April 3, 2023                   QUINN EMANUEL URQUHART & SULLIVAN, LLP

                25

                26                                        By     /s/ Charles K. Verhoeven
                                                               Charles K. Verhoeven
                27
                                                               Attorneys for Google LLC
                28

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                  1                                   CERTIFICATE OF SERVICE

                  2          The undersigned hereby certifies that all counsel of record who have consented to electronic

                  3 service are being served with a copy of this document via email on April 3, 2023.

                  4                                                              /s/ Lana Robins
                                                                                 Lana Robins
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                  6

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